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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §        CAUSE NO: 22-CR-00232-XR
                                               §
MARIO CHAPA                                    §

                             MOTION TO AMEND BOND CONDITIONS

TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES MARIO CHAPA, Defendant, by and through the undersigned counsel

and brings this Motion to Amend Bond Conditions, and in support thereof, Defendant would

show the Court the following:

                                                   I.

         On May 11, 2022, Defendant appeared before Honorable Richard B. Farrer, for a

contested detention hearing. After hearing testimony and argument of counsel, Defendant was

released with various conditions, including house arrest, remaining in the 24-hour custody of an

approved custodian, and no use of internet or computers. Defendant has complied with all

conditions of his release for the past seventeen months and remains in full compliance.

         On October 31, 2023 Defendant Chapa was recommended for acceptance into the UTSA

PhD graduate program in physics. 1 This program is a tremendous opportunity for Defendant, as

these positions are very competitive to attain. The program requires full-time enrollment in the

Spring 2024 semester, as well as a position of either a Graduate Research Assistant or a Graduate

Teaching Assistant.




1 See attached acceptance letter, Exhibit A.
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       The Defendant will be unable to accept this unique opportunity to pursue a PhD in

physics under the current conditions of release. Although the current conditions allow him to

leave his home for educational purposes, he is currently required to remain always in the

presence of a 3rd-party custodian. He respectfully requests that this condition be removed while

he is engaged at the university campus in educational activities. Defendant will always remain

supervised by a 3rd-part custodian away from campus.

       Secondly, Defendant’s studies, classes, and teaching or research activities all require the

use of a computer and the internet. Defendant will be using a university-owned computer, which

is strictly limited to educational use and require the student’s identifier for any logins. Defendant

will also need the use of his own computer, which can be monitored by U.S. Pretrial with the

installation of computer monitoring software. Defendant respectfully requests removal of the

condition prohibiting all use of computers and the internet, to allow for educational use only.

       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that his

bond conditions be amended to allow him to accept and participate in the PhD graduate program

at UTSA university.



                                     Certificate of Conference

       Undersigned counsel conferred with AUSA Tracy Thompson, who stated that the

Government is opposed to the requested relief.



       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that this

Honorable Court will grant the requested relief.
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                                                     Respectfully Submitted,

                                                      /s/ Scott W. McCrum
                                                     Scott McCrum
                                                     Texas State Bar No. 00795508
                                                     222 S. Flores St.
                                                     San Antonio, Texas 78204
                                                     Phone: (210) 225-4851
                                                     Fax: (210) 226-2241



                                     Certificate of Service
        I hereby certify that on December 22, 2023, a true and correct copy of the foregoing
Motion was electronically filed with the Clerk of the Court using the CM/ECF System which
will transmit notification of such filing to the following CM/ECF participant:

Ms. Tracy Thompson
Assistant United States Attorney
Western District of Texas
San Antonio Division


                                                     /s/ Scott W. McCrum
                                                     SCOTT W. MCCRUM
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                    §
                                            §
v.                                          §      CAUSE NO: 22-CR-00232-XR
                                            §
MARIO CHAPA                                 §

                                           ORDER

       THIS MATTER having come before the Court on Defendant’s Motion to Amend Bond

Conditions, and after considering same it is hereby GRANTED.

       IT IS HERBY ORDERED that Defendant’s conditions of bond are amended to allow

Defendant to attend campus activities related to the PhD graduate program at UTSA university

unsupervised. It is FURTHER ORDERED that Defendant may use a computer and the internet

for educational purposes, so long as the computer is owned and monitored by the UTSA, or

Defendant’s personal computer after U.S. Pretrial has installed computer monitoring software.



       SIGNED AND ENTERED, on this the ____day of ____________, 2023.




                                            ______________________________________
                                            UNITED STATES MAGISTRATE JUDGE
